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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL D

&nbsp;

MARCH 30, 2011

&nbsp;

______________________________

&nbsp;

&nbsp;

DAVID ANASTACIO MARQUEZ, APPELLANT

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, APPELLEE

&nbsp;

_________________________________

&nbsp;

FROM THE 64TH DISTRICT COURT OF HALE
COUNTY;

&nbsp;

NO. A17778-0809; HONORABLE ROBERT W. KINKAID, JR.,
JUDGE

&nbsp;

_______________________________

&nbsp;

Before QUINN, C.J. and CAMPBELL and PIRTLE, JJ.

DISSENTING OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
majority finds that Appellant's prior plea agreement and plea are evidence of
his financial ability to pay $337.50 of the $637.50 in court-appointed
attorney's fees.&nbsp; I respectfully
disagree.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Contracting
to pay a debt and having the actual ability to pay a debt are two entirely different
concepts.&nbsp; Our jurisprudence is replete
with examples of people who contracted to pay a debt but were unable to fulfill
that obligation.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Furthermore,
the determination of an ability to pay must be made at the time of the
assessment.&nbsp; The ability to pay at some past
or future point in time is no evidence of Appellant's present ability to pay.&nbsp; Tex. Code Crim. Proc. Ann. art. 26.05(g) (West Supp.
2010).&nbsp; Because I would reform the
judgment to find no attorney's fees were properly assessable, I respectfully
dissent.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick
A. Pirtle 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;Justice

&nbsp;

Do not publish.





